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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR131
                                            )
             Plaintiff,                     )
                                            )                MEMORANDUM
             vs.                            )                 AND ORDER
                                            )
SCOTT D. FREESE,                            )
                                            )
             Defendant.                     )


      This matter is before the Court on the Order and Report and Recommendation

(Filing No. 117) issued by Magistrate Judge ordering denial of the Defendant’s Motion to

Sever (Filing No. 83) and recommending denial of the Defendant’s Motion to Suppress

(Filing No. 84). Freese filed a statement of objections to the Report and Recommendation

(Filing No. 125) as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a). Because

the “objections” also address the order denying severance, the Court construes the

“objections” also as an appeal of the order denying severance filed pursuant to 28 U.S.C.

§ 636(b)(1)(A) and NECrimR 57.2(a).

      Freese is charged together with five codefendants in a one-count Indictment with

conspiracy to distribute and possess with intent to distribute 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine. He seeks an

order severing his case from that of codefendants Pablo Reza Landin and Raul Jimenez1

and an order suppressing numerous intercepted telephone conversations.

      Following an evidentiary hearing, Judge Thalken issued an Order and Report and

Recommendation. With respect to the motion to sever, he concluded: Freese failed to


      1
       The remaining codefendants have pleaded guilty.
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show prejudice due to juror confusion; and the various defenses are reconcilable, and,

therefore no prejudice would exist as a result of a joint trial. For these reasons, Judge

Thalken denied the motion to sever. Regarding the motion to suppress, Judge Thalken

concluded that the communications were lawfully intercepted, and Freese failed to show

that each conversation was subject to the attorney-client privilege. On the basis of these

determinations, Judge Thalken recommended that the Defendant‘s motion to suppress be

denied.

STATEMENT OF FACTS

       The Magistrate Judge provided a detailed account of the events surrounding the

events relevant to both motions. The Court has considered the transcript of the hearing

conducted by the Magistrate Judge (Filing No. 106). The Court also carefully viewed the

evidence and has read each of the intercepted conversations in question (Filing No. 102).

Based on the Court’s review of the evidence and arguments, the Court adopts Judge

Thalken’s factual findings in their entirety with respect to the motions to sever and

suppress.

MOTION TO SEVER

                                   Standard of Review

       Pursuant to 28 U.S.C. § 636(b)(1)(A) and NECrimR57.2, the court has reviewed the

order from which this appeal has been taken. In an appeal from a magistrate judge's order

on a pretrial matter pursuant to 28 U.S.C. § 636(b)(1)(A), a district court may set aside any

part of the magistrate judge's order shown to be clearly erroneous or contrary to law. 28

U.S.C. § 636(b)(1)(A); NECrimR57.2(c).



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                                          Analysis

       In Freese’s appeal, he raises the identical arguments set out in the motion to sever

and delivered orally at the evidentiary hearing. Freese argues that a joint trial will result in

confusion insofar as the jury will not be able to distinguish mere association from

participation in the alleged conspiracy. Freese argues that Freese’s alleged involvement

in the conspiracy is limited to giving advice to his codefendants as opposed to possession

or distribution of methamphetamine.

       The Court agrees with Judge Thalken insofar as all of the evidence appears to be

admissible against each defendant, and limiting instructions exist to cure any perceived

jury confusion. Even assuming a variance in the amount of evidence admissible against

Freese, “there is no requirement in a joint trial that ‘the quantum of evidence of each

defendant's culpability be equal.’ ” United States v. Flores, 362 F.3d 1030, 1042 (8th Cir.

2004) (quoting United States v. Cadwell, 864 F.2d 71, 73-74 (8th Cir.1988)).

       Addressing the issue of whether the defenses are irreconcilable, by merely arguing

that Freese has a defense different or antagonistic defense from his remaining

codefendants Freese has failed to meet the high standard of proving “a ‘serious risk that

a joint trial would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.’ " Id. at 1040-41.

       For these reasons, and for the reasons explained by Judge Thalken, the appeal is

denied and Judge Thalken’s denial of the Defendant’s motion to sever is affirmed.




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MOTION TO SUPPRESS

                                   Standard of Review

       Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a), the Court shall make

a de novo determination of those portions of the report, findings, and recommendations

to which the Defendant has objected. The Court may accept, reject, or modify, in whole

or in part, the Magistrate Judge's findings or recommendations. The Court may also

receive further evidence or remand the matter to the Magistrate Judge with instructions.

                                         Analysis

       The Defendant objects generally to Judge Thalken’s Report and Recommendation, 2

arguing that because Freese had an ongoing attorney-client relationship with codefendants

Benjamin Sukup and Jesus Padilla, the communications in question are privileged and

must be protected.

       The general rule is that the attorney-client privilege “is personal and cannot be

asserted by anyone other than the client.” United States v. Fox, 396 F.3d 1018, 1023 (8th

Cir. 2005). Therefore, as the attorney Freese cannot protect the privilege. Id. Moreover,

the purpose of the privilege is to protect communications for the purpose of obtaining legal

advice or services. Hanes v. Dormire, 240 F.3d 694, 717 (8th Cir. 2001). The Court agrees

with Judge Thalken that merely scheduling a meeting is not privileged conversation and

Freese did not show that any communications involved legal advice or strategy. United

States v. Johnston, 146 F.3d 785, 794 (10th Cir. 1998) (stating that a communication can



       2
        The requirement that the portions of a report and recommendation be specified
in a party’s statement of objections envisions references to specified pages, factual
findings or legal conclusions.

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only be privileged if it involves legal advice or strategy). Finally, the attorney-client privilege

does not protect communications undertaken during the course of committing a crime. In

re Bankamerica Corp. Sec. Litig., 270 F.3d 639, 641 (8 th Cir. 2001).

       IT IS ORDERED:

       1.      The Magistrate Judge’s Report and Recommendation (Filing No. 117) is

               adopted in its entirety;

       b.      The Statement of Objections to the Report and Recommendation (Filing No.

               125) is denied;

       3.      The Defendant’s Motion to Suppress (Filing No. 84) is denied.

       DATED this 19th day of December, 2005.

                                                     BY THE COURT:

                                                     s/Laurie Smith Camp
                                                     United States District Judge




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